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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


KEITH FETSURKA, et al                                       :        CIVIL ACTION
              Plaintiff                                     :
                                                            :
       v.                                                   :        NO. 20-5857
                                                            :
DANIELLE OUTLAW, et al                                      :
              Defendant                                     :
                                            NOTICE

To:    Counsel of Record

       TAKE NOTICE that a Telephone Conference re: status is scheduled in the above-

captioned matters with Magistrate Judge David R. Strawbridge for Tuesday, December 8, 2020

at 12:00 p.m. The Court will contact counsel with instruction to connect to the call.




                                               /s/ Danielle Puchon
                                             Danielle Puchon
                                             Deputy Clerk
                                             267-299-7790 - phone


Date: December 7, 2020

-Notice filed via ECF
